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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

NISSA AVILA,

               Plaintiff,

       v.                                            CASE NO.: 8:10-cv-02494-VMC-AEP


FIRST SOURCE ADVANTAGE, LLC.,

            Defendant.
____________________________________/

                                   NOTICE OF SETTLEMENT

       NOW COMES the Plaintiff, NISSA AVILA, by and through the undersigned counsel and

hereby informs the court that a settlement of the present matter has been reached and all parties

to the present matter are currently in the process of executing the aforementioned settlement

agreement, which Plaintiff anticipates will be completed within the next 30 days.

       Plaintiff therefore requests that this honorable Court vacate all dates currently set on

calendar for the present matter.

                                                     RESPECTFULLY SUBMITTED,

                                                 By: /s/ James Pacitti_______
                                                    James Pacitti (FBN: 119768)
                                                     Krohn & Moss, Ltd
                                                    10474 Santa Monica Blvd, Suite 401
                                                     Los Angeles, CA 90025
                                                    Phone: (323) 988-2400 x 230
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                                                    jpacitti@consumerlawcenter.com
                                                    Attorney for Plaintiff

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                                    NOTICE OF SETTLEMENT
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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 27, 2011, I electronically filed the foregoing Notice of

Settlement with the Clerk of the Court by using the CM/ECF System. A copy of said Notice was

electronically submitted to Dale T. Golden, Attorney for Defendant, by the Court’s CM/ECF

system.



                                                            /s/ James Pacitti
                                                            James Pacitti
                                                            Attorney for Plaintiff




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                                  NOTICE OF SETTLEMENT
